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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION



 UMG RECORDINGS, INC., et al.                   §
                                                §
         Plaintiffs,                            §
                                                §
 vs.                                            §
                                                §
                                                §       Civil Action No. 1:17-cv-365
 GRANDE COMMUNICATIONS
 NETWORKS LLC                                   §
 and                                            §       Jury Trial Demanded
 PATRIOT MEDIA CONSULTING, LLC                  §
                                                §
         Defendants                             §
                                                §


  SONY PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS’ THIRD
                       SET OF INTERROGATORIES

        Pursuant to Federal Rules of Civil Procedure 26 and 33, and the Protective Order entered in

 this matter, Sony Music Entertainment, Arista Records LLC, Arista Music, LaFace Records LLC,

 and Zomba Recording LLC (together, the “Sony Plaintiffs” or “Plaintiffs”) serve their Objections

 and Responses to Defendants’ Third Set of Interrogatories. Plaintiffs reserve the right to supplement

 or modify these Objections and Responses based on further information adduced during discovery.

INTERROGATORY NO. 20:

Describe the relationship between Rightscorp and the owner of each copyright alleged to be infringed

in this case from 2010 until the present, including the identification of any documents describing or

evidencing the authority on which Rightscorp was acting to monitor, generate, and transmit notices of

alleged copyright infringements to Grande relating to Plaintiffs’ Copyrighted Sound Recordings.




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ANSWER: Plaintiffs object to this Interrogatory as vague and undefined with respect to its use of the

term “relationship.” Plaintiffs also object to this Interrogatory as overbroad, irrelevant and not

proportional to the needs of the case, and thus not seeking discoverable information under Federal

Rule of Civil Procedure 26, to the extent it seeks information concerning Rightscorp other than as it

relates to Grande, Patriot, and Grande’s internet service subscribers and users. Plaintiffs further object

to this Interrogatory as seeking information protected by the attorney-client privilege and work product

doctrine.

       Subject to and without waiving these objections, Plaintiffs state as follows: In or around

January 2016, Rightscorp contacted the Recording Industry Association of America (“RIAA”)

concerning evidence Rightscorp possessed relating to Grande’s subscribers engaging in online

copyright infringement, including infringement of Plaintiffs’ copyrighted sound recordings as well as

notices and other communications that Rightscorp had sent to Grande informing Grande of its

subscribers’ infringement.     Plaintiffs, through RIAA, engaged Rightscorp to provide litigation

consulting services in connection with a potential lawsuit that Plaintiffs ultimately brought against

Grande and Patriot. In accordance with Federal Rule of Civil Procedure 33(d), Plaintiffs direct

Defendants to the evidence that Rightscorp collected regarding Grande’s subscribers’ online

infringement of Plaintiffs’ copyrighted sound recordings, which has been produced at Bates RC-

D_00000001 through RC-D_01350635 (notices sent to Grande), RC-D_01350636 - RC-D_01410446

(sample files of sound recordings that infringing Grande subscribers shared with Rightscorp, which

Rightscorp then provided to Plaintiffs and RIAA), and RIGHTSCORP00003832 through

RIGHTSCORP00004880 (email communications from Rightscorp to Grande making available

additional information concerning Grande subscribers’ infringement).           Because Rightscorp was

engaged as a litigation consultant, its communications with Plaintiffs and RIAA since January 2016


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concerning the subject matter of this lawsuit were generated in anticipation of, or in connection with,

litigation, and Rightscorp has been acting at the direction of counsel; for these reasons, such

communications are protected by the attorney-client privilege and the work product doctrine, and will

not be disclosed or provided on those grounds.



Dated: June 6, 2018                          Respectfully submitted,


                                      By:    /s/ Robert B. Gilmore

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                              CERTIFICATE OF SERVICE

       It is hereby certified that a true copy of the foregoing was served via First Class Mail

and Electronic Mail on the 6th day of June, 2018, upon counsel of record.

Dated: June 6, 2018

                                                     /s/ Robert B. Gilmore
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